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UNITED sTATEs nlsTRIcT CoURTF “~ED 'N OP

WESTERN DISTRICT OF TENNESSEEATE_ O‘_-f'J¢/‘ ~OS _
Eastern Division TlME: 3 : go p_ 21
intriALs;____€z____

UNITED STATES OF AMERICA
-vs» Case No. 1:05crl0034-001-T

LEAMON MATLOCK

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, APRIL 26, 2005 at 2:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
1 l l South Highland, Jackson, TN . Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing

Date: April 22, 2005 /---
cas r ina //,!¢.,

s. THoMAs AN`TJERsoN
UNITED sTATEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(0(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142($ are present. Subsection {l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BISS) Order of Temporary Deient`lon

Thts document entered on the docket s In compliance
with Hu|e 55 and/or 32(b) FFlCrP on L"i -

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case l:OS-CR-10034 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Angela R. Scott

State Attorney General's Offlce
P.O. Box 2825

Jacl<son7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

